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                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
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10                                              )
     UNITED STATES OF AMERICA,                  ) Case No.: 1:06-cr-00365
11                                              )
                  Plaintiff,                    )
12                                              )
           vs.                                  )
13                                              )
     ARMANDO ABDALLAH,                          )
14                                              )
                  Defendant                     )
15

16
                                             ORDER
17
           IT IS ORDERED that the June 16, 2011 sentencing date be vacated.
18
           IT IS ORDERED that the sentencing will now occur on November 18, 2011 at 9:00 a.m.
19
           Good Cause does exist.
20

21
     Date: _June 14, 2011____                 /s/ Lawrence J. O’Neill___________________
22                                            Hon. Lawrence J. O’Neill
23
                                              U.S. District Judge

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